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                           CASE NO. ___________

            IN THE UNITED STATES COURT OF APPEALS
                   FOR THE FIFTH CIRCUIT

                      NEXPOINT ADVISORS, L.P. and
    HIGHLAND CAPITAL MANAGEMENT FUND ADVISORS, L.P.,

                                    APPELLANT
                                          v.
              HIGHLAND CAPITAL MANAGEMENT, L.P.
                                    APPELLEE

          ON APPEAL FROM THE UNITED STATES BANKRUPTCY COURT
          FOR THE NORTHERN DISTRICT OF TEXAS, DALLAS DIVISION
               BANKRUPTCY CASE NO. 19-34054 (SGJ11)

  APPEAL PENDING AS CIVIL ACTION NO. 3:23-CV-00573 IN THE UNITED STATES
 DISTRICT COURT FOR THE NORTHERN DISTRICT OF TEXAS, DALLAS DIVISION

            PETITION FOR PERMISSION TO APPEAL
(DIRECT APPEAL FROM BANKRUPTCY COURT, 28 U.S.C. § 158(d))

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                    ATTORNEYS FOR THE APPELLANTS
                                    i
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                  CERTIFICATE OF INTERESTED PERSONS

   The undersigned counsel of record certifies that the following listed persons and
entities, as described in the fourth sentence of Rule 28.2.1, have an interest in the
outcome of this case. These representations are made in order that the judges of this
Court may evaluate possible disqualification or recusal:

      1.      Appellants:

              NexPoint Advisors, L.P.
              Highland Capital Management Fund Advisors, L.P. n/k/a
              NexPoint Asset Management, L.P.1

              Counsel for the Appellant:
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      2.      Appellee:

              Highland Capital Management, L.P.

              Counsel for Appellee:
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      1
        Highland Capital Management Fund Advisors, L.P. recently changed its
name to NexPoint Asset Management, L.P., but otherwise remains the same entity.
For ease, the Appellants have not changed the style of this Petition from the
proceedings and orders below, but advise the Court of this name change in order that
the Court can properly direct the Appellants how to proceed in light of the name
change.
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   -- and –

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                                       /s/ Davor Rukavina
                                       Davor Rukavina, Esq.
                                       Counsel for the Appellants




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               PETITION FOR PERMISSION TO APPEAL
     (DIRECT APPEAL FROM BANKRUPTCY COURT 28 U.S.C. § 158(d))

       NexPoint Advisors, L.P. and Highland Capital Management Fund Advisors,

L.P. n/k/a NexPoint Asset Management, L.P. (the “Petitioners” or the “Appellants”),

respectfully request that the Court grant them permission to appeal the Plan

Conforming Order (defined below), entered by the Bankruptcy Court upon remand

from this Court, directly to this Court pursuant to Federal Rule of Appellate

Procedure 5 and 28 U.S.C. § 158(d)(2)(A).

                    I.     PROCEDURAL BACKGROUND

A.     THE ORIGINAL CONFIRMATION ORDER

       This is an appeal after remand of an order of the Bankruptcy Court confirming

a Chapter 11 plan on “cramdown” over the objection of the Appellant and various

others.

       On February 22, 2021, the United States Bankruptcy Court for the Northern

District of Texas (the “Bankruptcy Court”) entered that certain Order (i) Confirming

the Fifth Amended Plan of Reorganization of Highland Capital Management, L.P.

(as Modified); and (ii) Granting Related Relief (the “Confirmation Order”), by

which the Bankruptcy Court confirmed the Debtor’s Fifth Amended Plan of

Reorganization of Highland Capital Management, L.P. (as Modified) [docket no.




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1808], as further modified (the “Plan”), filed by Highland Capital Management, L.P.

(the “Debtor”).

      A true and correct copy of the Confirmation Order, which includes the Plan

as an original part thereof, is attached hereto as Exhibit “A.”

      The Debtor filed its voluntary Chapter 11 bankruptcy case (the “Bankruptcy

Case”) on October 16, 2019.         The Debtor was a multi-billion dollar global

investment advisor and manager of various funds, and is a registered investment

advisor under the Investment Advisers Act of 1940. See Confirmation Order at p.

6. Among other assets that the Debtor manages is more than $1 billion invested by

third parties in collateral loan obligation investment vehicles (the “CLOs”). See id.

The CLOs own the underlying assets, usually securities, and the Debtor manages

those assets for the CLOs, including by making decisions as to when to sell CLO

assets, pursuant to a series of portfolio management agreements between the Debtor

and the CLOs. See id.

      The Plan is a wind down and liquidation plan. The Plan bifurcates the estate

into two entities: (i) a claimant trust is created for the benefit of creditors (and

potentially for the benefit of equity interest holders), which trust is vested with most

assets of the estate, including causes of action, see id. at pp. 5-6; and (ii) the Debtor

is reorganized and retains various business assets, including its management rights

of the CLOs. See id. The claimant trust will own the reorganized Debtor. See id.
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The reorganized Debtor will liquidate and wind-down its assets in approximately

two (2) years after confirmation, during which time it will continue to manage the

CLOs and various other investments that it holds or manages. See id. at p. 47. This

is significant because the Debtor will continue in business postconfirmation, which

implicates two aspects of the Plan that are directly relevant to this Petition.

      First, the Plan originally (prior to remand) contained a broad exculpation

provision exculpating the Debtor, its professionals, its general partner, and that

partner’s board members, among many others, from any claims for negligence. See

Exhibit “A” at Plan pp. 47-48.        This exculpation extended not only to case

administration matters, but also to ordinary business matters and also to post-

confirmation matters related to the implementation of the Plan. See id. The

Appellants objected to the Plan’s exculpation provisions because the Appellants

themselves are registered advisors who advise many publicly traded funds and other

investment vehicles, some of which funds own interests in the CLOs or otherwise

have their assets managed by the Debtor. Thus, the Appellants wished to ensure that

the Plan did not impermissibly exculpate persons from, among other things, any

potential claims related to how they managed the CLOs or other investments.

      The Appellants objected to the exculpation provisions of the Plan because

those provisions effectuate prohibited third releases (i.e. claims by a non-debtor

against a non-debtor) in violation of this Court’s precedent in In re Pacific Lumber
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Co., 584 F.3d 229, 253 (5th Cir. 2009). Pacific Lumber permitted the exculpation

of the members of a creditor’s committee for actions taken in the bankruptcy case,

but it prohibited the exculpation of other persons or professionals. See id. at 253.

As discussed below, the Appellants substantially prevailed on this argument in the

first appeal of the Confirmation Order to this Court.

      Second, the Plan contains a permanent “gatekeeper injunction” directly

prohibiting the Appellants by name from commencing or pursuing any claim or

cause of action against various protected persons, unless the Bankruptcy Court—

purporting to exercise “sole and exclusive” jurisdiction—first determines, after

notice and a hearing, that such claim or cause of action is “colorable.” See id. at pp.

50-51. The Appellants objected to any such injunction for postconfirmation matters

because the effect of the gatekeeper injunction was to grant a de facto exculpation

in violation of the Bankruptcy Code and Pacific Lumber and because the Bankruptcy

Court would have no postconfirmation jurisdiction to determine whether a claim or

cause of action is “colorable.” See In re Craig’s Stores of Tex. Inc., 266 F.3d 388,

390 (5th Cir. 2001). Should the Appellants wish to pursue an action arising after

confirmation, and the Bankruptcy Court finds that the claim is not “colorable,” that

means that a court without jurisdiction will have forever decided and prohibited the

bringing of the claim.



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      The Bankruptcy Court rejected these arguments, finding that the Debtor and

others needed special protections from alleged vexatious litigation in the form of the

“gatekeeper” injunction and other Plan injunction provisions, without which the

Debtor would not be able to obtain post-confirmation D&O insurance.                 See

Confirmation Order at pp. 57-59.

B.    THIS COURT’S ORIGINAL OPINION

      The Appellants and others appealed the Confirmation Order which, after the

Bankruptcy Court certified that appeal for a direct appeal to this Court, and this Court

granted a petition for direct appeal, proceeded in this Court as Case No. 21-10449

(the “First Appeal”).

      On August 19, 2022, in the First Appeal, this Court issued its opinion and

judgment affirming in part and reversing in part the Confirmation Order with respect

to the scope of the Plan’s exculpation provisions. Following a motion for rehearing

filed by various of the appellants, this Court withdrew its original opinion and

entered a subsequent opinion in the First Appeal on September 7, 2022, remanding

to the Bankruptcy Court for further proceedings in accordance with the opinion (the

“Original Opinion”). A true and correct copy of the Original Opinion is attached

hereto as Exhibit “B.”

      The Original Opinion replaced only one sentence in the prior opinion: “[t]he

injunction and gatekeeper provisions are, on the other hand, perfectly lawful” was
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replaced with: “[w]e now turn to the Plan’s injunction and gatekeeper provisions.”

Exhibit H at p. 4. The Appellants believed this change to be very significant, in that

this Court deleted the prior reference to the gatekeeper injunction being “perfectly

lawful.”

       On September 12, 2022, this Court issued its Judgment in the First Appeal

(the “Mandate”), a true and correct copy of which is attached hereto as Exhibit “C.”

The Mandate has not been recalled or stayed, the Court denying various appellants’

motion for the same.2

       By the Original Opinion, this Court concluded that the Plan and Confirmation

Order violated 11 U.S.C. § 524(e) and Pacific Lumber because the exculpation

provisions exceeded the permissible scope and effectuated non-debtor releases in

violation of the Bankruptcy Code. See Exhibit B at p. 30. This Court vacated the

Plan’s exculpation provisions with respect to all exculpated parties except for the

Debtor, the Official Committee of Unsecured Creditors appointed in the Bankruptcy

Case and its members, and the independent directors of the Debtor’s general partner

for conduct within the scope of their duties. See id. This Court then remanded the




       2
         Both the Appellants and the Debtor filed petitions for certiorari with the United States
Supreme Court. As of this filing, and while the Supreme Court has requested responsive briefing,
the Supreme Court has not decided whether it would grant review.

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matter to the Bankruptcy Court for further proceedings consistent with the Original

Opinion.

       The Appellants additionally read the Original Opinion and Mandate as

reversing the Bankruptcy Court’s gatekeeper injunction, as discussed below,

although whether this Court did so was disputed.3 That is the primary issue on this

Appeal.

C.     POST-REMAND PROCEEDINGS

       On September 9, 2022, the Debtor filed its Motion to Conform Plan (the

“Motion to Conform”). A true and correct copy of the Motion to Conform is

attached hereto as Exhibit “D.” By the Motion to Conform, the Debtor sought an

order from the Bankruptcy Court conforming the Confirmation Order to the Original

Opinion, arguing that the only change to the Confirmation Order that was necessary

was to change the definition of “Exculpated Parties” in the Plan to only the

following: “collectively, (i) the Debtor, (ii) the Independent Directors, (iii) the

Committee, and (iv) the members of the Committee (in their official capacities).”

Exhibit “D” at p. 4.




       3
         It was for more clarity on the issue of the gatekeeper injunction that the Appellant sought
a rehearing which, as noted above, this Court granted. While the Appellants believed that the
Court’s opinion on rehearing confirmed that the Court was reversing the Bankruptcy Court on the
gatekeeper injunction, this too was disputed and, as discussed below, rejected by the Bankruptcy
Court.
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      Certain parties labeled as the “Funds” (as that term was used in the Original

Opinion) filed an objection to the Motion to Conform, a true and correct copy of

which is attached as Exhibit “E.” This objection argued that the Confirmation Order

and Plan should be conformed not only to limit the scope of the persons protected

by the exculpation provision but that the persons protected by the gatekeeper

injunction must be similarly limited in order to comply with the Original Opinion

and Mandate; i.e. that the gatekeeper injunction could extend only to the same

persons protected by the exculpation provision. Otherwise, the Plan would do

through the gatekeeper injunction what this Court had held it could not do through

the exculpation provision.

      On September 30, 2022, the Appellants filed their Limited Objection of the

Advisors to Motion to Conform Plan (the “Objection”). A true and correct copy of

the Objection is attached as Exhibit “F.” By the Objection, the Appellants joined in

the aforementioned objection filed by the funds. The Appellants argued that the

Original Opinion did more than strike only the offending provisions of the Plan’s

exculpation provision, but also that it struck similarly offending provisions in the

gatekeeper injunction by, among other things, holding that “the Plan violates §

524(e) . . . insofar as it exculpates and enjoins certain non-debtors.” Exhibit B at p.

30 (emphasis added). The Appellants argued that this Court confirmed their view in



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the Original Opinion when it struck, on rehearing, the prior provision regarding the

gatekeeper injunction being “perfectly lawful.”

      The Appellants also argued that a different provision of the Plan must be

struck to conform the Plan to the Original Opinion, that being Article IX of the Plan

which applied the Plan’s injunctive provisions to successors, including the

“Litigation Sub-Trust, and the Claimant Trust and their respective property and

interests in property.” Exhibit F at p. 3. Finally, the Appellants argued that the Plan

should have been conformed to also exclude from the gatekeeper injunction those

suits expressly authorized by 28 U.S.C. § 959(a), which provides that “[t]rustees,

receivers or managers of any property, including debtors in possession, may be sued,

without leave of the court appointing them, with respect to any of their acts or

transactions in carrying on business connected with such property.” 28 U.S.C. §

959(a). Thus, the Appellants argued that the gatekeeper injunction could not enjoin

the bringing of actions expressly permitted by this federal statute.

      On October 14, 2022, the Debtor filed its Reply in Support of Motion to

Conform Plan, a true and correct copy of which is attached as Exhibit “G,” in which

the Debtor reasserted its argument in the Motion to Conform that no further changes

to the Plan and the Confirmation Order were necessitated by this Court’s Original

Opinion, other than changing the definition of “Exculpated Parties.” The Debtor

argued that the relief requested by the Appellants in the Objection was inappropriate
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and that the sole relief provided in the Original Opinion was to remove certain

persons from the scope of the Plan’s exculpation provisions.

      On February 27, 2023, the Bankruptcy Court entered its Memorandum

Opinion and Order on Reorganized Debtor’s Motion to Conform Plan (the “Plan

Conforming Order”). A true and correct copy of the Plan Conforming Order is

attached hereto as Exhibit “H.” By the Plan Conforming Order, the Bankruptcy

Court rejected the Appellants’ arguments and conformed the Plan solely with the

Debtor’s proposed change to the definition of Exculpated Parties, “[t]he court grants

the Motion and orders that one change be made to the Plan to conform it to the

mandate of the Fifth Circuit: revise the definition of “Exculpated Parties” as

proposed in the Motion and no more. Exhibit H at p. 19.

D.    THE CERTIFICATION ORDER

      The Appellants believed that the Bankruptcy Court erred with respect to the

Plan Conforming Order by not conforming the Plan’s gatekeeper injunction, as it

had the Plan’s exculpation provisions.

      On March 13, 2022, the Appellants timely filed their Joint Notice of Appeal,

a true and correct copy of which is attached as Exhibit “I,” by which the Appellants

appealed the Plan Conforming Order to the United States District Court for the

Northern District of Texas (the “District Court”), where the Appeal is presently



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pending as Civil Action Number: 3:23-cv-00573-E (the “District Court

Proceeding”).

        On March 22, 2023, the Appellants and the Debtor filed their Joint Motion for

Certification of Direct Appeal to the Fifth Circuit of Order on Reorganized Debtor’s

Motion to Conform Plan, a true and correct copy of which is attached as Exhibit “J,”

agreeing that a certification for direct appeal to this Court was proper “because a

direct appeal will materially advance the progress of the case or proceeding.”

Exhibit J at p. 2.

        On March 28, 2023, the Bankruptcy Court entered its Order Certifying Direct

Appeal to the Fifth Circuit Court of Appeals of Order on Reorganized Debtor’s

Motion to Conform Plan (the “Certification Order”). A true and correct copy of the

Certification Order is attached hereto as Exhibit “K.” By the Certification Order,

the Bankruptcy Court certified the Appeal for a direct appeal to this Court pursuant

to 28 U.S.C. § 158(d)(2)(A)(iii) “because the direct appeal may materially advance

the progress of the case or proceeding in which the Appeal is taken.” Exhibit K at

p. 2.

E.      THE ISSUES ON APPEAL

        The issues that the Appellants have raised in this Appeal are as follows:

        1.    Whether the Bankruptcy Court erred as a matter of law, and in violation

of this Court’s Original Opinion and Mandate, when it failed on remand to order
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that, in addition to revising the definition of “Exculpated Parties” in the Plan, the

definition of “Protected Parties” in the Plan (applicable to the gatekeeper injunction)

should also be revised to include only “(i) the Debtor, (ii) the Independent Directors,

(iii) the Committee, and (iv) members of the Committee (in their official capacities)”

(each as defined in the Plan).

         2.    Whether the Bankruptcy Court erred as a matter of law, and in violation

of this Court’s Original Opinion and Mandate, when it failed on remand to order the

revision of the Plan to remove the Plan’s provision conferring limited qualified

immunity on the Debtor’s successors (the third paragraph of Article IX.F of the

Plan).

         3.    Whether the Bankruptcy Court erred as a matter of law, and in violation

of this Court’s Original Opinion and Mandate, when it failed on remand to order the

revision of the gatekeeper provisions (the fourth paragraph of Article IX.F of the

Plan) to remove from its scope suits and claims expressly permitted by federal statute

to be brought against a trustee or debtor-in-possession.

                            II.   RELIEF REQUESTED

         The Appellants respectfully petition this Court to grant permission for the

Appeal to be heard directly by this Court, bypassing the District Court, as provided

for by 28 U.S.C. § 158(d)(2). That section:



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      was enacted to provide for direct review of bankruptcy court judgments,
      orders, or decrees by the applicable court of appeals in cases where the
      bankruptcy court or the district court certify that there is no controlling
      decision from the Supreme Court or circuit court, the case involves a
      matter of public importance, there are conflicting precedents, or an
      immediate appeal may materially advance the progress of the
      bankruptcy proceeding.

In re OCA, Inc., 552 F.3d 413, 418 (5th Cir. 2008) (citing 28 U.S.C.

§ 158(d)(2)(A)(i)-(iii)).

      “The two primary goals behind this provision are (i) to provide quicker and

less costly means of resolving significant issues that are inevitably bound for the

court of appeals, and (ii) to facilitate the development of more binding precedents in

bankruptcy law.” In re Qimonda AG, 470 B.R. 374, 382-83 (E.D.Va. 2012) (citing

H.R. Rep. No. 109-31(7) at 148 (2005), as reprinted in 2005 U.S.L.L.A.N. 88, 206).

      In the event that the Bankruptcy Court or the District Court makes the

certification under 28 U.S.C. § 158(d)(2), this Court has jurisdiction if it authorizes

the direct appeal. Id. As set forth in the Certification Order, the Bankruptcy Court

determined that the Appeal meets the requirements for direct appeal because an

immediate appeal may materially advance the progress of the case or the proceeding

in which the Appeal is taken.

                                III.   DISCUSSION

      The ultimate issue in this Appeal is whether the Bankruptcy Court properly

conformed the Plan to comply with this Court’s Original Opinion and Mandate. It

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goes without saying that no court is in a better position than this Court to construe

and apply its Original Opinion.

      The governing statute provides as follows:

      The appropriate court of appeals shall have jurisdiction of appeals
      described in the first sentence of subsection (a) if the bankruptcy court,
      the district court, or the bankruptcy appellate panel involved, acting on
      its own motion or on the request of a party to the judgment, order, or
      decree described in such first sentence, or all the appellants and
      appellees (if any) acting jointly, certify that—

             (i) the judgment, order, or decree involves a question of law as
             to which there is no controlling decision of the court of appeals
             for the circuit or of the Supreme Court of the United States, or
             involves a matter of public importance;

             (ii) the judgment, order, or decree involves a question of law
             requiring resolution of conflicting decisions; or

             (iii) an immediate appeal from the judgment, order, or decree
             may materially advance the progress of the case or proceeding in
             which the appeal is taken;

      and if the court of appeals authorizes the direct appeal of the judgment,
      order, or decree.

28 U.S.C. 158(d)(2)(A). This Petition is timely under Federal Rule of Bankruptcy

Procedure 8007(g).

      Permission to appeal directly to this Court should be granted because, as

agreed to by the Debtor and as certified by the Bankruptcy Court, a direct appeal

will materially advance the progress of the case or proceeding in which the Appeal

is pending, within the meaning of section 158(d)(2)(A)(iii).
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       With respect to materially advancing the progress of the case, all parties have

stated that they intend to appeal any ruling of the District Court, thus ensuring that

this Court will consider this Appeal anyway. The Bankruptcy Court certified the

Appeal on this basis. Insofar as this Court will almost certainly be presented with

the same Appeal eventually, the Appellants submit that it is in everyone’s best

interests to proceed with a direct appeal, as the parties will save significant fees and

costs, upwards of one year of delay will be avoided, the Bankruptcy Case will move

toward finality, 4 and the District Court will be spared being called upon to adjudicate

an appeal that will be further appealed to this Court, thus promoting judicial

economy.

       The Appellants will add that this Appeal also raises an issue of “public

importance” and, while there is controlling precedent from this Court in the form of

the Original Opinion, the Appellants submits that this Court should clarify and

enforce the Original Opinion with respect to the gatekeeper injunction that is

involved.

       At present, the Appellants are under a final injunction limiting their access to

the courts and to seek legal redress to protect themselves and their clients, or to

advise their clients to do so, even as the Debtor manages (or managed) billions of



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                Of importance to all creditors and parties-in-interest affected by the Plan, and
especially by its payment and injunction provisions.
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dollars of investments that subjected the Debtor to a large number of contractual,

statutory, and fiduciary duties and obligations. Limiting one’s access to the federal

courts to enforce federal law, especially when that limitation is issued by an Article

I court with questionable jurisdiction, at best, is a most serious matter that merits this

Court’s prompt review.

                                   IV.     PRAYER

      WHEREFORE, PREMISES CONSIDERED, the Appellants respectfully

request that the Court, pursuant to 28 U.S.C. § 158(d), permit the Appeal to proceed

directly in this Court.

      RESPECTFULLY SUBMITTED this 26th day of April, 2023.

                                         MUNSCH HARDT KOPF & HARR, P.C.

                                         By: /s/ Davor Rukavina
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                                         ATTORNEYS FOR THE APPELLANTS




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                                    CERTIFICATE OF SERVICE

      The undersigned hereby certifies that, on this the 26th day of April, 2023, he
caused true and correct copies of this document, with all exhibits attached hereto, to
be served by e-mail on the following parties through their respective counsel of
record:

         Appellee:
              Highland Capital Management, L.P.:

                             Jeffrey Pomerantz (jpomerantz@pszjlaw.com)
                             John A. Morris (jmorris@pszjlaw.com)



                                                        /s/ Davor Rukavina
                                                        Davor Rukavina, Esq.




                                 CERTIFICATION OF WORD COUNT

      The undersigned hereby certifies that this Petition complies with Rule 5(c)
because it contains 3,519 words, excepting those portions that may be excepted.

                                                        /s/ Davor Rukavina
                                                        Davor Rukavina, Esq.




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